ProbUB

(7/93)
                                         United States District Court
                                       for the District of Massachusetts

                         Request for Modifying the Conditions orTerm ofSupervision
                                         ipvith Consent of the Offender
                              (Probation Form 49, Waiver ofHearing isAttached)


    Name ofOffender; Annette Gracia                         Case Number:       17-CR-10301
    Name ofSentencing Judicial Officer: Honorable Indira Talwani, U.S. District Judge
    Date of Original Sentence: 1/23/18
    Original Offense: Producing aFalse Identification Document, in violation of 18 U.S.C. 1028(a)(1).
    Original Sentence: 12 months custody ofthe Bureau of Prisons to be followed by 24 months ofsupervised
    release.

    Type ofSupervision: Supervised Release                  Date Supervision Commenced: 1/17/19
                                         PETITIONING THE COURT

 [ ]     To extend the term ofsupervision for years, for atotal term of years
 [X]     Tomodify the conditions ofsupervision asfollows:
 The defendant shall reside at a Residential Reentry Center (RRC), preferably the Coolidge House in
 Boston, MA, for a period of up to three (3) months, oruntil she can secure housing that has been approved
 by the U.S. Probation Office. While atthe RRC, the defendant shall abide by all the rules of the facility.
                                                     CAUSE


 On 4/19/19, the Probation Office filed a Report on Offender Under Supervision (Form 12A) advising the Court
 ofMs. Gracia's arrest by the Boston Police for Assault and Battery against her teenage daughter on 4/13/19. Ms.
 Gracia has proclaimed her innocence and accused her estranged husband ofexaggerating her disagreement with
 the child in an attempt to have her arrested. Ms. Gracia claimed her husband had amotive to do so because she
 had called the police two days prior and had him arrested for allegedly assaulting her.
 Although Ms. Gracia opted not to obtain a restraining order against her husband, due to the parties estranged
 relationship, she agreed itwould be in her best interests to relocate to another residence until her criminal case
 had been resolved. Thereafter, with no other housing options available to her, Ms. Gracia relocated to her
 husband's grandmother's home in Roxbury. Despite our office approving the residence for supervision, Ms.
 Gracia abruptly asked to temporarily move to another address last week due to the ongoing conflict involving her
 husband. She explained that although she heeded the advice ofthis Officer to sever all contact with her husband,,
 he apparently was calling his grandmother continuously asking that she be evicted. While the grandmother never
 told her to leave, Mr. Gracia felt the strain amongst the parties was making her living situation untenable so she
 decided tomove to a fnend's house who also resides inRoxbury. Unfortunately, because her friend s apartment
 is located in subsidized housing, she is prohibited by law from staying more than 30 days. Additionally, while
 Ms. Gracia remains employed, since she is not working regular full-time hours, she does not have the fiinds to
 afford her own place.
                                                                                       Request for Modifying the
                                                                               Conditions or Terms ofSupervision
                                                                                      with Consentof the Offender



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TO revive the is-. - office
10 resolve xne issue, uiu                            - -      [
                                                                  housing in the weeks leading up to her placement,
after 30 days. In the event Ms. Gracia is able to solidity stable IHouse.
she is aware that she will not have to reside at the Coolidgewill workLikewise,      ifMs. Gracia secures a stable
                                                                            with her case manager to expedite her

Your Honor agrees with our recommendation, kindly affix yc ur signature eow.
                                                                                Respectfully submitted,
 Reviewed/Approved by:
                                                                                /s/ Patrick Skehill
 /s/Lisa Paiva
                                                                            by Patrick Skehill
 Lisa Paiva
 Supervisory U.S. Probation                                                     U.S. Probation Officer
 Officer
                                                                                Date:             7/17/2019



 THE COURT ORDERS
 [ 1 No Action
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     The
         Extension ofSupervision as Noted Above
         Modification ofConditions asNoted Above
 in
 [   ]   Other


                                                                                HonorableIndira Talwani
                                                                                U.S. District Judge

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